24-11279-mew             Doc 351        Filed 04/02/25 Entered 04/02/25 22:28:41                     Main Document
                                                    Pg 1 of 4



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    Counsel to Simmons University

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

    In re:                                                          Chapter 11

    2U, Inc.,                                                       Case No. 24-11279 (MEW)

    Reorganized Debtor. 1                                           (Jointly Administered)

                                                                    Objection Deadline: April 15, 2025 at 4:00 p.m. ET
                                                                    Hearing Date: April 22, 2025 at 11:00 a.m. ET


           NOTICE OF HEARING ON MOTION OF SIMMONS UNIVERSITY
       FOR ENTRY OF AN ORDER (I) ENFORCING THE CONFIRMATION ORDER
          AND (II) COMPELLING REJECTION OF SIMMONS UNIVERSITY’S
                          EXECUTORY CONTRACTS

             PLEASE TAKE NOTICE that, on April 2, 2025, Simmons University (“Simmons”) filed

the Motion of Simmons University for Entry of an Order (I) Enforcing the Confirmation Order and

(II) Compelling Rejection of Simmons University’s Executory Contracts [Docket No. 350]

(the “Motion”).2




1
             The Reorganized Debtor in this case, along with the last four digits of the Reorganized Debtor’s federal tax
             identification number, is: 2U, Inc. (5939). The Reorganized Debtor’s mailing address is 2345 Crystal Drive,
             Suite 1100, Arlington, Virginia 22202.
2
             Capitalized terms used but not defined in this Moton have the meanings provided in the Confirmation Order
             (as defined below).



                                                             1
24-11279-mew       Doc 351     Filed 04/02/25 Entered 04/02/25 22:28:41            Main Document
                                           Pg 2 of 4



          PLEASE TAKE FURTHER NOTICE that a hearing on the Motion (the “Hearing”) will

be held on April 22, 2025 at 11:00 a.m. (prevailing Eastern Time) before the Honorable Michael

E. Wiles, United States Bankruptcy Judge for the Southern District of New York, Courtroom 617,

One Bowling Green, New York, New York 10004 (the “Court”).

          PLEASE TAKE FURTHER NOTICE that unless otherwise ordered, the Hearing will be

conducted in person at the Court, before the Honorable Michael E. Wiles OR via Court Solutions.

If you wish to appear virtually at the hearing via Court Solutions, please email

wiles.chambers@nysb.uscourts.gov to request approval prior to the hearing. Parties and members

of the public who wish to listen to the hearing by audio feed do not need approval and may do so

by registering with Court Solutions. Parties may register with Court Solutions at www.Court-

Solutions.com. Information on how to register for, and use, the Court Solutions platform is

available at https://help.court-solutions.com/hc/en-us.

          PLEASE TAKE FURTHER NOTICE that, on or before April 15, 2025 at 4:00 p.m.

(Prevailing Eastern Time) (the “Objection Deadline”), responses or objections, if any, to the

Motion and the relief requested therein (the “Objections”) must (a) be made in writing, (b) conform

with the requirements of title 11 of the United States Code, the Federal Rules of Bankruptcy

Procedure, the Local Bankruptcy Rules for the Southern District of New York, (c) be served upon

DLA Piper LLP (US), 1251 Avenue of the Americas, New York, New York 10020, Attn.: Rachel

Ehrlich        Albanese       (rachel.albanese@us.dlapiper.com);          Dennis        O’Donnell

(dennis.odonnell@us.dlapiper.com); and Erik F. Stier (erik.stier@us.dlapiper.com), and (d) be

filed with the Clerk of the Court at the address set forth above, with a copy delivered directly to

Judge Wiles’ chambers at wiles.chambers@nysb.uscourts.gov.




                                                 2
24-11279-mew       Doc 351     Filed 04/02/25 Entered 04/02/25 22:28:41             Main Document
                                           Pg 3 of 4



       PLEASE TAKE FURTHER NOTICE that, if no Objections are timely filed and served

by the Objection Deadline, the Court may enter final order granting the relief requested in the

Motion without further notice or opportunity to be heard.

       PLEASE TAKE FURTHER NOTICE that a copy of the Motion can be viewed and/or

obtained by: (a) accessing this Court’s website at www.nysb.uscourts.gov; (b) contacting the

Office of the Clerk of the Court at the Court; (c) on the website of the Debtors’ claims and noticing

agent, Epiq Corporate Restructuring, LLC (“Epiq”), at https://dm.epiq11.com/2U; or (d)

contacting Epiq directly at (877) 525-5725 (toll free U.S. and Canada) and (360) 803-4441

(International).

       PLEASE TAKE FURTHER NOTICE that, if you oppose the relief requested in the

Motion, or if you want the Court to hear your position on the Motion, then you or your attorney

must attend the Hearing. If you or your attorney do not follow the foregoing steps, the Court may

decide that you do not oppose the relief requested in the Motion and may enter an order granting

the relief requested by Simmons.

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                                                 3
24-11279-mew    Doc 351   Filed 04/02/25 Entered 04/02/25 22:28:41     Main Document
                                      Pg 4 of 4



 Dated: April 2, 2025                  Respectfully submitted,
 New York, New York
                                       DLA PIPER LLP (US)

                                        /s/ Rachel Ehrlich Albanese
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                                       -and-

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                                        4
